                          DECISION OF DISMISSAL
This matter is before the court on Multnomah County Assessor's (County) Motion to Dismiss, filed on May 13, 2009, requesting that the Complaint be dismissed.
A case management conference was held July 14, 2009. Anita M. Katz participated on her own behalf; Leslie Cech appeared for the County.
This appeal concerns residential property identified as Account R329328. A timely appeal was filed for the 2008-09 year with the Multnomah County Board of Property Tax Appeals (BOPTA). The results were sent to Plaintiff on March 5, 2009. Plaintiff then mailed a Complaint to the Magistrate Division of the Oregon Tax Court on April 17, 2009. For 2008-09, Plaintiff requests the court order a reduction in the real market value (RMV) from $932,830 to $650,000. She also requests that a corresponding reduction be made to the 2008-09 maximum assessed value (MAV).
Oregon has a structured appeals system for taxpayers to follow when challenging the RMV assigned to their properties. The first step in the appeal process is to a county BOPTA. Taxpayers are required to file appeals with the appropriate county board by December 31 of the current tax year. ORS 309.100(2).1 *Page 2 
Plaintiff then had 30 days from the date the BOPTA order was mailed to bring an appeal to this court. ORS 305.288. However, some situations occur which prevent a taxpayer from timely appealing from the county board. As a result, the legislature granted this court authority to review untimely appeals when the taxpayer establishes "good and sufficient cause" for not timely pursuing a statutory right of appeal. ORS 305.288(3).
ORS 305.288(3) states:
  "The tax court may order a change or correction * * * to the assessment or tax roll for the current tax year and for either of the two tax years immediately preceding the current tax year if, for the year to which the change or correction is applicable the * * * taxpayer has no statutory right of appeal remaining and the tax court determines that good and sufficient cause exists for the failure by the * * * taxpayer to pursue the statutory right of appeal."
(Emphasis added.)
That statute defines good and sufficient cause as follows:
  "`Good and sufficient cause':
  "(A) Means an extraordinary circumstance that is beyond the control of the taxpayer, or the taxpayer's agent or representative, and that causes the taxpayer, agent or representative to fail to pursue the statutory right of appeal; and
  "(B) Does not include inadvertence, oversight, lack of knowledge, hardship or reliance on misleading information provided by any person except an authorized tax official providing the relevant misleading information."
ORS 305.288(5)(b) (emphasis added).
For the 2008-09 tax year, Plaintiffs did receive the BOPTA order that was mailed March 5, 2009. She thought she had 30 days from actual receipt, instead of from the mailing date. Also, she said she was working with a realtor to obtain market sales data and that contributed to her delay. That was not beyond her immediate control. As a result, the court finds good and sufficient cause is lacking for the failure to timely pursue an appeal to this court for the 2008-09 tax year. *Page 3 
The second circumstance under which the court can hear a taxpayer's case is if it concludes there is a gross error. ORS 305.288(1) sets forth when the court shall order a correction under this approach. The statute states:
  "(1) The tax court shall order a change or correction * * * to the assessment and tax roll for the current tax year or for either of the two tax years immediately preceding the current tax year * * * if all of the following conditions exist:
  "(a) For the tax year to which the change or correction is applicable, the property was or is used primarily as a dwelling * * *.
  "(b) The change or correction requested is a change in value for the property for the tax year and it is asserted in the request and determined by the tax court that the difference between the real value of the property for the tax year and the real market value on the assessment and tax roll for the tax year is equal to or greater than 20 percent." (Emphasis added.)
Here, the value range alleged by Plaintiffs is more than 20 percent. However, Plaintiff did not submit nor offer any probative evidence that would tend to prove the value reduction alleged. A list of sales information largely occurring in late 2008 and 2009 — without necessary adjustments for differences — does not tend to show an overvaluation. On a review of the pleadings there is no showing of a gross error.
Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
Dated this ____ day of August 2009.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailingto: 1163 State Street, Salem, OR 97301-2563; or byhand delivery to: Fourth Floor,1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60days after the date of the Decision or this Decision becomesfinal and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattsonon August 31, 2009. The Court filed and entered this documenton August 31, 2009.
1 All references to the Oregon Revised Statutes (ORS) are to 2007. *Page 1 